             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 1 of 25



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DONALD J. TRUMP,
 1600 Pennsylvania Avenue NW
 Washington, D.C. 20500,
                                       Plaintiff,
                                                        No. _____________________
        v.
 COMMITTEE ON WAYS AND MEANS,
 UNITED STATES HOUSE OF
 REPRESENTATIVES,
 1102 Longworth House Office Building,
 Washington, D.C. 20515,
 LETITIA JAMES, in her official capacity as
 Attorney General of New York State,
 The Capitol
 Albany, NY 12224,
 MICHAEL R. SCHMIDT, in his official
 capacity as Commissioner of the New York
 State Department of Taxation and Finance,
 W.A. Harriman Campus
 Albany, NY 12227,
                                    Defendants.


                                         COMPLAINT
       Plaintiff Donald J. Trump, in his capacity as a private citizen, brings this action against

Defendants for declaratory and injunctive relief and alleges as follows:

                                       INTRODUCTION
       1.      The House Ways and Means Committee (Committee) is pursuing President

Trump’s federal tax returns. After the Treasury Department declined to produce them, the

Committee filed a lawsuit in this Court. See Doc. 1, Comm. on Ways & Means v. U.S. Dept. of

Treasury, No. 1:19-cv-1974 (D.D.C.). President Trump, in his capacity as a private citizen, has

intervened in that suit. See Doc. 14, Ways & Means, No. 1:19-cv-1974.




                                                    1
            Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 2 of 25



       2.      The Treasury Department denied the Committee’s request for the President’s

federal returns because it determined that the request had no legitimate legislative purpose. As

Secretary Mnuchin explained after compiling a 42-page chronology of public statements from

prominent Democrats: “The public record demonstrates that the animating purpose of [the

Committee’s request] was and remains exposure of a political opponent’s private tax information.”

Doc. 1-7 at 5, Ways & Means, No. 1:19-cv-1974; accord Congressional Committee’s Request for

the President’s Tax Returns Under 26 U.S.C. § 6103(f), 43 Op. O.L.C. __, __ (June 13, 2019) (slip

op. 26).

       3.      The State of New York shares this “animating purpose” and is eager to help the

Committee expose the President’s private tax information. Once it became clear that Treasury

would not divulge the President’s federal returns, New York passed a law allowing the Committee

to get his state returns. Dubbed the TRUST Act, this law directs the Commissioner of the New

York State Department of Taxation and Finance (Commissioner) to grant the Committee’s request

for the President’s state tax returns if the Committee has already requested the President’s federal

returns from Treasury. See 2019 Sess. Law News of N.Y. Chs. 91, 92 (July 8, 2019) (Senate Bill

S6146; Assembly Bill A7750). That hyper-specific condition was, not coincidentally, already

satisfied for the intended target of the Act: President Trump.

       4.      New York legislators admitted that the TRUST Act’s purpose was to help the

Committee expose the President’s private tax information for political gain; its purpose was their

purpose. And New York Democrats designed the TRUST Act to be a complement to the

Committee’s litigation over the President’s federal tax returns—a “workaround,” an “‘in case of

emergency break glass’” option, a “constitutional escape hatch should [the Committee] not want

to wait for the federal court case and its appeals process to be finalized.” The TRUST Act also




                                                 2
            Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 3 of 25



grew out of a larger campaign in New York to uncover and expose the President’s private financial

information in the hopes of damaging him politically.

       5.      Committee Chairman Richard Neal was initially reluctant to use the TRUST Act.

The New York returns have nothing to do with the reason he gave for requesting the President’s

federal returns: “investigating the mandatory presidential audit program at the IRS to determine

whether or not the program needs to be codified into federal law.” In fact, if Chairman Neal

requested the New York returns, it would prove one of the defendants’ key arguments in the

litigation over the federal returns—that the Chairman is trying to expose the President’s financial

information for political gain, not to study the IRS’s audit procedures.

       6.      Despite his initial reluctance, Chairman Neal has recently changed his tune on the

TRUST Act. According to a news report published yesterday, Chairman Neal is facing intense

pressure from his fellow Democrats to invoke the TRUST Act and obtain the President’s state tax

returns. Succumbing to this pressure, the Chairman recently announced that he does not oppose

using the TRUST Act and that House counsel was “reviewing” it now.

       7.      That review could end—and Chairman Neal could decide to request the President’s

state returns—at any time, with no notice to the President. And New York could respond to the

request nearly instantaneously, mooting the President’s ability to object before his tax records are

disclosed. President Trump was thus forced to bring this lawsuit to safeguard his legal rights.

       8.      The President is entitled to relief. Because the Committee’s jurisdiction is limited

to federal taxes, no legislation could possibly result from a request for the President’s state tax

returns. The Committee thus lacks a legitimate legislative purpose for using the TRUST Act. This

Court has “the power, either by injunction or declaratory judgment, to stay the issuance” of any




                                                 3
                 Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 4 of 25



request under the Act. U.S. Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1259 (D.C. Cir. 1973),

approved in relevant part, Eastland v. U.S. Servicemen’s Fund, 421 U.S. 491, 501 n.14 (1975).

           9.     The TRUST Act also violates the First Amendment. As revealed by its text, history,

effect, and stated purposes, the New York Legislature enacted it to discriminate and retaliate

against President Trump for his speech and politics. This Court should declare it unconstitutional

and enjoin its operation. 28 U.S.C. §2201; 42 U.S.C. §1983.

                                   JURISDICTION AND VENUE
           10.    This Court has subject-matter jurisdiction because this action arises under the

Constitution and laws of the United States, 28 U.S.C. §1331, and alleges civil-rights violations, id.

§1343.

           11.    Venue is proper because a substantial part of the events or omissions giving rise to

the claims occurred in this District, and the Committee resides in this District. Id. §1391.

                                              PARTIES
           12.    Plaintiff Donald J. Trump is the 45th President of the United States. He is a member

of the Republican Party. President Trump brings this suit in his individual capacity as a private

citizen.

           13.    Defendant Committee on Ways and Means is a standing committee of the United

States House of Representatives. Representative Richard Neal (D-Massachusetts) is its chair. Both

the House and the Committee are currently controlled by the Democratic Party.

           14.    Defendant Letitia James is the Attorney General of the State of New York. She is

a member of the Democratic Party. The Attorney General is responsible for enforcing state laws

and has a statutory right to intervene in cases where the constitutionality of state legislation is

challenged. N.Y. Executive Law §71. The Attorney General is sued in her official capacity.




                                                   4
              Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 5 of 25



        15.     Defendant Michael R. Schmidt is the Commissioner of the New York State

Department of Taxation and Finance. He is a member of the Democratic Party. The Commissioner

is sued in his official capacity.

                                          BACKGROUND
I.      Under Article I of the Constitution, congressional committees cannot investigate
        private individuals without a “legitimate legislative purpose.”
        16.     “The powers of Congress … are dependent solely on the Constitution,” and “no

express power in that instrument” allows Congress to investigate individuals or to demand their

private information. Kilbourn v. Thompson, 103 U.S. 168, 182-89 (1880). The Constitution instead

permits Congress to enact certain kinds of legislation. See, e.g., Art. I, §8. Thus, Congress’ power

to investigate “is justified solely as an adjunct to the legislative process.” Watkins v. United States,

354 U.S. 178, 197 (1957). “Congress is not invested with a general power to inquire into private

affairs. The subject of any inquiry always must be one on which legislation could be had.”

Eastland, 421 U.S. at 504 n.15 (cleaned up); see also Quinn v. United States, 349 U.S. 155, 161

(1955) (“[T]he power to investigate” does not “extend to an area in which Congress is forbidden

to legislate.”). In other words, the inquiry must have a “legitimate legislative purpose.” Eastland,

421 U.S. at 501 n.14.

        17.     “Oversight” and “transparency,” in a vacuum, are not legitimate purposes that can

justify requesting the confidential information of a private citizen. For more than a century, the

Supreme Court has been quite “sure” that neither the House nor the Senate “possesses the general

power of making inquiry into the private affairs of the citizen.” Kilbourn, 103 U.S. at 190. “[T]here

is no congressional power to expose for the sake of exposure.” Watkins, 354 U.S. at 200. “No

inquiry is an end in itself; it must be related to, and in furtherance of, a legitimate task of the

Congress.” Id. at 187.




                                                   5
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 6 of 25



       18.     Moreover, the legislative purpose justifying a committee’s investigation must fall

within that committee’s jurisdiction. “The theory of a committee inquiry is that the committee

members are serving as the representatives of the parent assembly in collecting information for a

legislative purpose.” Watkins, 354 U.S. at 200. Congress therefore must “spell out that group’s

jurisdiction and purpose with sufficient particularity.” Id. at 201. The committee “must conform

strictly to the resolution” creating its jurisdiction. Exxon Corp. v. FTC, 589 F.2d 582, 592 (D.C.

Cir. 1978). And when an investigation is “novel” or “expansive,” courts will construe the

committee’s jurisdiction “narrowly.” Tobin v. United States, 306 F.2d 270, 275 (D.C. Cir. 1962).

       19.     “[T]he records called for” by Congress must also be “pertinent to the

[congressional] inquiry.” McPhaul v. United States, 364 U.S. 372, 380 (1960). This “pertinency”

requirement ensures that Congress is “coping with a problem that falls within its legislative

sphere.” Watkins, 354 U.S. at 206. If the congressional subpoena is not “reasonably ‘relevant to

the inquiry,’” then it lacks a legitimate purpose. McPhaul, 364 U.S. at 381-82; accord Hearst v.

Black, 87 F.2d 68, 71 (D.C. Cir. 1936); Bergman v. Senate Special Comm. on Aging, 389 F. Supp.

1127, 1130 (S.D.N.Y. 1975).

       20.     Finally, because Congress must have a legislative purpose for its inquiries, it cannot

demand personal, confidential information to exercise “any of the powers of law enforcement.”

Quinn, 349 U.S. at 161. Those enforcement powers “are assigned under our Constitution to the

Executive and the Judiciary.” Id. Because Congress is not “a law enforcement or trial agency,”

congressional investigations conducted “for the personal aggrandizement of the investigators” or

“to ‘punish’ those investigated” are “indefensible.” Watkins, 354 U.S. at 187. Our tripartite system

of separated powers requires that “any one of the[] branches shall not be permitted to encroach

upon the powers confided to the others, but that each shall by the law of its creation be limited to




                                                 6
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 7 of 25



the exercise of the powers appropriate to its own department and no other.” Kilbourn, 103 U.S. at

190-91.

II.    Under the First Amendment, States cannot discriminate or retaliate against
       individuals for their speech or politics.
       21.     The First Amendment, as incorporated against the States by the Fourteenth, protects

the freedoms of speech and association. Tashjian v. Republican Party of Conn., 479 U.S. 208, 214

(1986). “[P]olitical belief and association constitute the core of those activities protected by the

First Amendment,” Elrod v. Burns, 427 U.S. 347, 356 (1976), and the First Amendment “has its

fullest and most urgent application to speech uttered during a campaign for political office.”

Citizens United v. FEC, 558 U.S. 310, 339-40 (2010).

       22.     Because a State cannot “produce a result which it could not command directly,”

laws that do not directly regulate speech or association still violate the First Amendment if they

“deny a benefit to a person because of his constitutionally protected speech or associations.” Perry

v. Sindermann, 408 U.S. 593, 597 (1972); accord Rutan v. Republican Party of Ill., 497 U.S. 62,

78 (1990). This is true even if the person “has no ‘right’ to [the] governmental benefit” and “the

government may deny him the benefit for any number of reasons.” Perry, 408 U.S. at 597. And

the withheld benefit can be something “as trivial as failing to hold a birthday party.” Rutan, 497

U.S. at 75 n.8. “[T]he government’s reason for [acting] is what counts.” Heffernan v. City of

Paterson, 136 S. Ct. 1412, 1418 (2016).

       23.     Accordingly, a law violates the First Amendment if it was enacted to discriminate

or retaliate against an individual for his protected speech. “Official reprisal for protected speech

offends the Constitution.” Hartman v. Moore, 547 U.S. 250, 256 (2006). Laws “based on the

identity of the speaker” are “instruments to censor”; they “run the risk that ‘the State has left

unburdened those speakers whose messages are in accord with its own views.’” Citizens United,



                                                 7
               Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 8 of 25



558 U.S. at 340; NIFLA v. Becerra, 138 S. Ct. 2361, 2378 (2018). At bottom, States cannot pass

legislation “when the specific motivating ideology or the opinion or perspective of the speaker is

the rationale.” Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). It does

not matter if the retaliation or discrimination is unsuccessful at chilling the target’s speech. The

constitutionality of discriminatory and retaliatory action cannot turn on “the plaintiff’s will to

fight.” Constantine v. Rectors & Visitors of George Mason Univ., 411 F.3d 474, 500 (4th Cir.

2005).

         24.    Similarly, a law violates the First Amendment if it was enacted to discriminate or

retaliate against an individual for his politics. See Branti v. Finkel, 445 U.S. 507, 516-17 (1980).

This prohibition “reflects the First Amendment’s hostility to government action that prescribes

what shall be orthodox in politics.” Heffernan, 136 S. Ct. at 1417 (cleaned up). Laws based on

partisan discrimination or retaliation “press” individuals “to conform their beliefs and associations

to some state-selected orthodoxy.” Rutan, 497 U.S. at 76.

         25.    These constitutional rules are implicated whenever speech or politics motivated the

legislation “at least in part.” Cruise-Gulyas v. Minard, 918 F.3d 494, 497 (6th Cir. 2019). To

determine whether an impermissible purpose exists, courts first look at the “face” of the law to see

if, for example, it has been “‘gerrymander[ed]’” to target particular individuals. Sorrell v. IMS

Health Inc., 564 U.S. 552, 564 (2011); Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,

508 U.S. 520, 533-34 (1993). “Facial neutrality” is “not determinative,” however. Lukumi, 508

U.S. at 533-34. An impermissible purpose can also be detected from “the effect of a law in its real

operation” and other evidence in “the record.” Id. at 535; Sorrell, 564 U.S. at 564. “Relevant

evidence includes, among other things, the historical background of the decision under challenge,

the specific series of events leading to the enactment or official policy in question, and the




                                                 8
              Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 9 of 25



legislative or administrative history, including contemporaneous statements made by members of

the decisionmaking body.” Lukumi, 508 U.S. at 540.

III.    The Committee’s partisan efforts to uncover the President’s tax information.
        26.     During the 2016 election, then-Candidate Trump declined to disclose his federal

tax returns, citing ongoing IRS audits and the need to not prejudice his rights in those proceedings.

His tax returns became a major campaign issue, with Secretary Clinton repeatedly insinuating that

their nondisclosure suggested they contained politically damaging information. As she framed the

criticism at one presidential debate, “[W]hy won’t he release his tax returns? … Maybe he’s not

as rich as he says he is. Second, maybe he’s not as charitable as he says he is. Third, we don’t

know all of his business dealings …. Or maybe he doesn’t want the American people ... to know

that he’s paid nothing in federal taxes.... It must be something really important, even terrible, that

he’s trying to hide.”

        27.     Ultimately, this issue was litigated in the 2016 election. Voters heard the criticisms

from Secretary Clinton, and they elected President Trump anyway. Democrats in Congress and

across the country, however, have only become more eager to disclose the President’s tax returns

for political gain.

        28.     During the 115th Congress, when they were still the minority party, House

Democrats gave a variety of reasons for wanting the President’s tax returns. Their statements all

had a common theme: the tax returns would contain damaging information about President Trump

that the House Democrats would release to the public. Then-Leader Nancy Pelosi, for example,

said there was a “popular demand” for the President’s tax returns, which she suspected would

reveal “a Russia connection” and “what [the] Russians have on Donald Trump.” In a press

conference with the House Democratic Leadership, she reiterated her concern about Russia and

called on the Ways and Means Committee to “make those tax returns public.” Committee


                                                  9
               Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 10 of 25



Democrats released a report stating they “remain steadfast in our pursuit to have his individual tax

returns disclosed to the public.” Then-Ranking Member Richard Neal said he wanted the public to

“see the tax forms” and for “the media to sift and sort” them. Representative Lloyd Doggett,

another Committee member, said “[t]he public has an interest in knowing of the President’s

personal and business affairs”; he suspected the returns would show that the President “will benefit

personally” from tax reforms, has “payments to or from Russians,” and has “conflicts with and

entanglements with foreign governments and potential violations of the Emoluments Clause.” See

also Doc. 1-7, Ways and Means, No. 1:19-cv-1974 (collecting many more similar statements).

         29.     After the 2018 midterm elections, Democrats took control of the House and, with

it, the power to issue subpoenas. Knowing he could not request the President’s tax returns unless

he had a legitimate legislative purpose, Chairman Neal began “contruct[ing]” a “case” that “would

stand up under the critical scrutiny of the federal courts.” He had to be “meticulous about [his]

choice of words,” he said, because his request would “become the basis of a long and arduous

court case.” He implored his fellow Democrats to “resist the emotion of the moment,” not “step

on [their] tongue[s],” and “approach this gingerly and make sure the rhetoric that is used does not

become a footnote to the court case.” “This has to be part of a carefully prepared and documented

legal case,” Chairman Neal explained. “It will be done judiciously and methodically, but it will be

done.”

         30.     In “construct[ing]” his “case,” Chairman Neal knew he could not rely on any of the

rationales that Democrats had offered in the past. A bare desire to expose the President’s tax

information would be illegal, and the Ways and Means Committee has no jurisdiction over

“emoluments,” “conflicts of interest,” or “Russia.” But the Ways and Means Committee had to




                                                 10
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 11 of 25



make the request, House Democrats believed, because only it can both request the President’s

returns and disclose them to the public.

       31.     So Chairman Neal came up with a new rationale. In his April 3, 2019 letter to the

IRS Commissioner, he requested six years’ worth of tax returns and other information regarding

President Trump and eight Trump entities. He justified his request in terms of “the Federal tax

laws”—specifically, determining “the extent to which the IRS audits and enforces the Federal tax

laws against a President.” Doc. 1-1, Ways and Means, No. 1:19-cv-1974.

       32.     Chairman Neal’s rationale was pretextual, as he had admitted it would be. While

House Democrats had offered countless justifications for obtaining the President’s tax returns, no

one had ever mentioned a desire to find out how the IRS audits Presidents. The Chairman’s request,

moreover, bore little resemblance to an effort to investigate how the IRS audits Presidents. It asked

for the information of only one President, asked for open files for which audits have not been

completed, and never asked the IRS for the most relevant information—namely, how it audits

Presidents. In a series of letters, attorneys for the President and Treasury Department challenged

this newly-minted rationale as illegitimate. See Docs. 1-3; 1-4; Ways and Means, No. 1:19-cv-

1974. The Chairman did not dispute that his new rationale was pretextual; he merely insisted that

no one could “question or second guess the motivations of the Committee.” Doc. 1-5, Ways and

Means, No. 1:19-cv-1974.

       33.     On May 6, 2019, the Treasury Department indicated it could not comply with the

Committee’s request for the President’s federal tax returns. See Doc. 1-9, Ways & Means,

No. 1:19-cv-1974. After compiling and reviewing over 40 pages of Democrats’ public statements,

Secretary Mnuchin concluded that the Committee’s request lacked a legitimate legislative purpose.

It was instead a partisan effort to expose the President’s private tax information. See Doc. 1-7,




                                                 11
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 12 of 25



Ways & Means, No. 1:19-cv-1974. The Department of Justice agreed. See Congressional

Committee’s Request for the President’s Tax Returns Under 26 U.S.C. § 6103(f), 43 Op. O.L.C.

__, __ (June 13, 2019) (slip op. 26). The Treasury Department later declined a Committee

subpoena for the same information. See Doc. 1-14, Ways & Means, No. 1:19-cv-1974.

       34.     On July 2, 2019, the Committee filed a lawsuit to compel compliance with its

subpoena. See Doc. 1, Ways & Means, No. 1:19-cv-1974. President Trump (and the eight Trump

entities whose tax returns were requested) intervened. See Doc. 14, Ways & Means, No. 1:19-cv-

1974. That suit is currently pending in this Court.

IV.    New York’s partisan efforts to uncover the President’s tax information.
       35.     Like House Democrats, Democratic officials in New York have used every tool at

their disposal to expose the President’s private financial information. And like House Democrats,

their goal is to retaliate against President Trump and damage him politically.

       36.     The Attorney General of New York State, for example, took office following a

campaign where she promised to “begin … an investigation into the Trump Administration with

respect to his finances in the State of New York” and bring “the days of Donald Trump … to an

end.” On several occasions she stated, “The president of the United States has to worry about three

things: 1. Mueller 2. Cohen, and 3. Tish James. We’re all closing in on him.” She represented that,

if elected, “we will join with law enforcement and other attorneys general across this nation in

removing this president from office.” “I will be shining a bright light into every dark corner of his

real estate dealings.” “[W]e’re going to definitely sue him. We’re going to be a real pain in the ass.

He’s going to know my name personally.” The Attorney General also tweeted to Democrats in

Congress, promising “to help Democrats take on Donald Trump” and “investigate” him.

       37.     Democrats in the New York Legislature have been just as relentless.




                                                 12
              Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 13 of 25



        38.     Their first attempt to expose the President’s financial information was not subtle.

Shortly before the President’s inauguration, Senator Brad Hoylman (D-Manhattan) introduced

Senate Bill S8217. His bill would have required candidates for President to publicly disclose their

federal income tax returns from the last five years, or else their names would not appear on the

New York ballot and they could not receive New York’s electoral votes. Lest anyone be confused

about the target of S8217, Senator Hoylman named it the Tax Returns Uniformly Made Public

Act, or TRUMP Act.

        39.     The official “Justification” for the TRUMP Act began by lamenting that, “[u]ntil

the 2016 presidential election, every president since Jimmy Carter has disclosed at least one

year[’s] worth of tax returns before taking office.” The TRUMP Act thus would “give the

American people important insight into a candidate’s financial standing” by answering questions

like “How much does the candidate earn, and from whom? Are they paying a higher or lower

overall tax rate than the average American? To whom do they owe money? Have they utilized

loopholes in tax laws to avoid or evade paying taxes?”

        40.     Senator Hoylman made similar public statements about the TRUMP Act’s purpose.

“Sadly,” he said, “President-elect Donald Trump repeatedly refused to release copies of his federal

income taxes.” As a “response,” “New York should take corrective action and make the provision

of tax returns a qualification to appear on the ballot for President of the United States. And I hope

other state legislatures will follow New York’s lead and introduce their own version of the TRUMP

Act.”

        41.     The TRUMP Act was also introduced in the New York Assembly. It was

reintroduced in the 2017-18 legislative session (as A4072 and S26) and the 2019-20 legislative




                                                 13
               Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 14 of 25



session (as A4493 and S32). Democratic legislators in nearly 30 States introduced similar

legislation.

        42.      In the 2017-18 session, the Senate Elections Committee rejected the TRUMP Act

on a 5-4, party-line vote. Senator Hoylman lambasted “Senate Republicans” for “carrying the

water for Donald Trump to help keep his tax returns secret from New Yorkers.”

        43.      Senator Hoylman quickly devised another plan to expose the President’s finances.

Working with Assemblymember Buchwald (D-Westchester), the two introduced Assembly Bill

A7462 and Senate Bill S5572—the Tax Returns Uphold Transparency and Honesty Act, or

TRUTH Act. The TRUTH Act would have required the Commissioner to publish the President’s

state income tax returns from the last five years.

        44.      The TRUTH Act was reintroduced in the 2019-20 legislative session (as A1390

and S2271). It gained over 100 Democratic cosponsors.

        45.      Although the TRUTH Act would have applied to other officials who run for

statewide office, its true target was President Trump. After introducing the legislation, Senator

Hoylman, Assemblymember Buchwald, and others held a press conference where they stood in

front of a red banner with white lettering that said “#ReleaseTheReturns.” Assemblymember

Buchwald remarked, “For over forty years, U.S. Presidents have released their tax returns, a

precedent broken by President Trump”; “[i]t is essential that the President’s tax returns be

released.” “If lawmakers in Washington won’t force President Trump to release his returns,”

Senator Hoylman added, “lawmakers in Albany should instead.” “Trump broke over four decades

worth of tradition by not releasing his returns, by thumbing his nose at the American people”;

“[w]e want to reverse that, and we think we are in a unique position as New Yorkers to do so.”




                                                 14
              Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 15 of 25



        46.     According to Assemblymember Buchwald and Senator Holyman, they got the idea

for the TRUTH Act from an op-ed and article written by a University of Chicago law professor.

The op-ed (titled “There’s a Quick and Easy Way to See Trump’s Tax Returns”) and the article

pitched the idea of disclosing the President’s state tax returns as a workaround—a way to expose

the same information from his federal returns without engaging in protracted litigation with the

Treasury Department. The New York returns, the professor explained, would help resolve “one of

the big concerns about Trump’s [federal] tax returns”: that “he just hasn’t been paying taxes for

the last several decades … that he’s been reporting a federal [adjusted gross income] of zero, while

all the while holding himself out as a billionaire, which suggests that he’s either a liar or a tax

cheat.” “The tax experts I’ve spoken to,” Senator Holyman echoed, “think we’ll get a good

snapshot of what’s on [President Trump’s] federal form.”

        47.     Like the TRUMP Act, the TRUTH Act died in committee during the 2017-18

legislative session.

        48.     So Senator Hoylman and Assemblymember Buchwald devised a third way to target

the President. By this time, the House Ways and Means Committee had formally requested the

President’s federal returns and the Treasury Department had suggested that the request was illegal.

So Senator Hoylman and Assemblymember Buchwald devised legislation that would use the

Committee’s request for the President’s federal returns as a way to disclose his state returns. They

named the legislation the Tax Returns Released Under Specific Terms Act, or TRUST Act.

        49.     The initial draft of the TRUST Act applied to the President alone. Yet a lawyer

advised the drafters to broaden the bill so its supporters would have “plausible deniability.”

Governor Andrew Cuomo likewise warned against “politiciz[ing] the process” by passing a law




                                                15
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 16 of 25



that conspicuously targeted President Trump. While he supported the effort to force “transparency

and disclosure” on President Trump, he said the law should “appl[y] to everybody.”

       50.     The next draft of the TRUST Act incorporated this advice. It would have instructed

the Commissioner to produce “any returns or return information” requested by the House Ways

and Means Committee. 2019 Sess. Law News of N.Y. Ch. 91.

       51.     The final version of the TRUST Act reverted to a more targeted approach. Instead

of allowing the Committee to obtain anyone’s state tax returns, the TRUST Act limits the

Committee’s access to returns filed by “the president of the United States,” “vice-president of the

United States,” U.S. Congressmen representing New York, “any person who served in or was

employed by … the executive staff of the president, in the executive office of the president, or in

an acting or confirmed capacity in a position subject to confirmation by the United States senate,”

and several state and local officials. The TRUST Act also allows the Committee to receive returns

filed by “a partnership, firm, association, corporation, joint-stock company, trust or similar entity”

that one of the listed individuals “directly or indirectly control[s]” or owns “ten percent or more of

the voting securities.” The returns can be for “any current or prior year.” 2019 Sess. Law News of

N.Y. Ch. 92.

       52.     To receive state returns under the TRUST Act, the chair of either the House Ways

and Means Committee, the Senate Finance Committee, or the Joint Committee on Taxation must

submit a “written request” to the Commissioner. The request must “certif[y]” that three conditions

are met: (1) “such reports or returns have been requested related to, and in furtherance of, a

legitimate task of the Congress,” (2) “the requesting committee has made a written request to the

United States secretary of the treasury for related federal returns or return information, pursuant to




                                                 16
              Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 17 of 25



26 U.S.C. Section 6103(f)”, and (3) any inspection by another Committee or the full House or

Senate will be done “in a manner consistent with federal law.” Id.

        53.     Before giving the Committee a state return, the Commissioner must “redact any

copy of a federal return (or portion thereof) attached to, or any information on a federal return that

is reflected on” it. Id.

        54.     New York legislators viewed the TRUST Act as a way to help the Committee

accomplish the reason it requested the President’s federal return: obtaining and exposing his

private tax information for political gain. As Senator Holyman explained, “[N]o one is above the

law and we have a situation in Washington where a coequal branch of government has requested

tax information from the White House and it is being stonewalled.” “New York, as the home of

the president and the headquarters for some of his companies, has a unique role and responsibility

in that regard to allow Congress to do its constitutionally-mandated job.” Only New York could

“help head off the constitutional crisis brewing between Congress and the White House over

refusal to comply with the request for Donald Trump’s tax returns.” “As the situation in

Washington unfolds the desire by my colleagues is even greater to pass this bill,” Senator Hoylman

added. “Applying pressure in New York is a positive thing for the efforts by Chairman Neal.”

Other Democratic legislators made similar statements. Senator Andrea Stewart-Cousins voted for

the TRUST Act because “[n]o one is above the law and we see things unfolding, that, really, is

blocking the ability for our counterparts on the congressional level to actually do their

responsibility.” Senator Michael Gianaris voted for it to “send a message that no one is above the

law…. [W[e have a president who is defying the norms of checks and balances and the balance of

power in this country.” Assemblymember Thomas Abinanti echoed that “the President has spurned




                                                 17
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 18 of 25



the tradition of releasing his own tax returns, and he has intentionally and publicly thwarted the

legitimate and necessary oversight of Congress.”

       55.     In addition to helping House Democrats achieve their partisan goals, Democratic

legislators in New York passed the TRUST Act to further their own partisan goal of politically

damaging the President. Comparing the TRUST Act to the TRUMP Act and TRUTH Act, Senator

Hoylman said, “I don’t care how we get it done, frankly”; “I want the route that is most politically

feasible.” “What’s at stake here,” Senator Hoylman stated, is “the desire of New Yorkers and the

American people to seek the truth behind Trump’s taxes.” “Typically in politics, where there’s

smoke there’s fire.” “A lot of New Yorkers, and frankly, Americans have questions about what

he’s hiding,” and “we have a responsibility to do so as the state that is the home state for President

Trump and many of his businesses.” When asked why the TRUST Act is not “blatantly political,”

Senator Hoylman responded, “We as New Yorkers shouldn’t be bystanders to the preservation of

our democracy” and “Donald Trump has broken over 40 years of political traditions by not

releasing his tax returns.” When asked a similar question, Assemblymember Buchwald admitted

that “[o]bviously it is a bill dominated by Democratic support” but added that some non-Democrats

also “want President Trump to release his taxes.” “Making sure that the public has information

about the man currently in the White House is something that I feel is incumbent upon us to make

sure is released.” “New York state could play a unique role with regards to transparency of tax

returns in connection with the president,” Assemblymember Buchwald explained, “because he’s a

New York state resident and his state tax returns would have his worldwide income.” “Tax returns”

are also “a real window into what’s going on in a person’s mind.” Carl E. Heastie, the Democratic

speaker of the Assembly, echoed that “there seems to be nationwide desire” to see Mr. Trump’s




                                                 18
              Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 19 of 25



taxes. Senator Luis Sepúlveda described the law as a way to “resist” the “current president [who]

is potentially breaking every rule.”

       56.      When the TRUST Act first passed the Senate, the Senate issued a press release

titled, “Senate Stands Up to President Trump.” The article begins, “The Senate passed legislation

today that will have a major impact … by holding President Donald Trump accountable,” and

quotes Senate Majority Leader Andrea Stewart-Cousins as saying, “This President and his

administration have repeatedly shown a true hostility to the rule of law and presidential customs.”

Later, the article even describes the bill as the “Trump Taxes” bill.

       57.      The Legislature’s illegitimate motives did not go unnoticed. Assemblymember

Michael Benedetto, a Democrat, stated, “Make no mistake, I have complete disdain with what is

going on in this administration in Washington.” “But … the purpose [of the TRUST Act] is

obviously political in nature .… No Legislature should craft legislation for political reasons just to

get a few people they consider their enemies.” Assemblymember Carrie Woerner, who voted for

the TRUST Act, lamented that it was “an intrusion … driven by politics.” Governor Cuomo also

expressed initial reservations about the TRUST Act because “if we have to pass a law that is clearly

designed to help a Democratic Congress access Donald Trump’s tax returns it will be in the courts

for years, because this really does raise serious constitutional questions.”

       58.      Governor Cuomo nevertheless signed the TRUST Act on July 8. “[T]his bill,” the

Governor declared in a formal statement, “gives Congress the ability to fulfill its Constitutional

responsibilities … and ensure that no one is above the law.” Senator Hoylman similarly tweeted,

“BREAKING: @NYGovCuomo just signed my legislation with @DavidBuchwald allowing the

US Congress to obtain Trump’s NY state tax returns. No one is above the law. Not even the

President.”




                                                 19
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 20 of 25



       59.     The TRUST Act took effect “immediately.” 2019 Sess. Law News of N.Y. Ch. 91,

§19.

V.     The Committee is poised to request the President’s state returns from New York.
       60.     Now that the TRUST Act is in effect, Chairman Neal could request and obtain the

President’s state tax returns at any time.

       61.     At first, the Chairman said he would not use the TRUST Act. The state returns

“wouldn’t matter for our purposes,” Neal stated, noting that his stated rationale for requesting the

federal returns was reviewing how the IRS audits Presidents. Chairman Neal also noted that “[w]e

don’t have jurisdiction over New York taxes.” As he revealed to reporters, his request for the New

York returns could “boost the Trump administration’s argument that Congress is going after his

tax returns as part of a political vendetta and fishing expedition, not as part of its legislative or

oversight duties,” torpedoing the “prudent[] … case” he had constructed.

       62.     But things are changing fast. According to an NBC news report from yesterday,

Chairman Neal’s hesitation about using the TRUST Act has “landed [him] in hot water.”

Progressive groups are “infuriated” that he has not yet requested the President’s state tax returns,

lambasting his inaction as showing insufficient “zeal for oversight” and “doing pretty much

everything possible to make sure [House Democrats] don’t get [the President’s returns] before

November 2020.” Chairman Neal also gained a primary challenger yesterday, who launched his

campaign by criticizing the Chairman’s lack of “urgency” on this issue.

       63.     The NBC report quoted an aide to one of the Committee Democrats, who said there

was “widespread frustration from members of the committee at how slowly this process [of getting

the President’s tax information] has moved.” Recently, Representative Doggett said, “we should

take a look” at “New York’s information.” Referencing the TRUST Act, Representative Pascrell

said he supports “any tool … that might shed sunlight on Trump’s tax return history” because the


                                                 20
             Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 21 of 25



country needs to know what he “is hiding” and whether he “is a crook.” Representative Judy Chu,

another Committee member, declared that “[t]he new law out of New York State is a new and

interesting option that I believe should be considered and examined as we move forward.”

       64.     Other House Democrats have added their voices to this growing chorus.

Representative Maxine Waters, who chairs the House Financial Services Committee, said that

“I’m for” “[w]hatever it takes to get” the President’s tax returns. Representative Pramila Jayapal,

co-chair of the House Progressive Caucus, similarly said, “Yes, absolutely, we need to ask [for the

state returns]. We need to know.” Representative Charlie Crist answered a question about the

TRUST Act by asking rhetorically, “Why not? I don’t think there is any downside for us.”

       65.     Democrats are also tying the TRUST Act to the Committee’s lawsuit for the

President’s federal tax returns, characterizing the state returns as a backup plan in case the federal

suit is unsuccessful or takes too long. According to Representative Nadler, also a New Yorker and

the Chair of the House Judiciary Committee, the TRUST Act means “we can turn to New York

State” “[i]f confronted with inability to receive the federal tax return.” He called the Act a

“workaround to a White House that continues to obstruct and stonewall the legitimate oversight

work of Congress.” Senator Hoylman likewise framed the TRUST Act as giving “Congress a

constitutional escape hatch should they not want to wait for the federal court case and its appeals

process to be finalized, which potentially could take months to years.” Assembly Speaker Heastie

predicted that Chairman Neal would use the bill as “‘in case of emergency break glass’ type

legislation.” So did Representative Hakeem Jeffries, the fifth highest ranking Democrat in the

House: “continued obstruction from the administration … may cause the chairman of the Ways

and Means Committee to change his mind.”




                                                 21
                Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 22 of 25



          66.     In the face of all this pressure, Chairman Neal recently changed his stance toward

the TRUST Act. He clarified that “House counsel … have legitimate concerns about [requesting

the President’s state returns], not me.” (Emphases added.) On July 12, the Chairman revealed that

“House counsel” has been asked to reconsider using the TRUST Act to request the President’s

state tax returns and “is reviewing all of that right now.” Chairman Neal did not specify when this

review will end.

          67.     Chairman Neal could invoke the TRUST Act, and the Commissioner could disclose

the President’s state tax returns, immediately. The Act was drafted for speed: The Chairman can

make a request at any time. The supposed “conditions” that must be satisfied are, by design, all

things that the Committee has already said or done. The Act does not require any notice to the

President or anyone else, and there is no procedure for the President to object. The statute imposes

no waiting period on the Commissioner either; he can respond virtually instantaneously (after

making simple redactions).

          68.     Accordingly, because Chairman Neal has expressed a renewed interest in utilizing

the TRUST Act, President Trump had no choice but to file this lawsuit to protect his constitutional

rights.

                                               COUNT I
                   Violation of Article I of the Constitution and the House Rules
          69.     Plaintiff incorporates all his prior allegations.

          70.     The Committee cannot invoke the TRUST Act and request the President’s state tax

returns without a legitimate legislative purpose.

          71.     No legitimate legislative purpose exists to request the President’s state tax returns.

Congress has no authority to regulate New York income taxes. And state tax returns would not

give Congress pertinent information about federal taxes, since the TRUST Act requires that any



                                                     22
              Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 23 of 25



federal information be redacted. The primary purpose of any request under the TRUST Act would

be exposure for the sake of exposure, law enforcement, or some other wholly impermissible goal—

not pursuing valid federal legislation.

        72.     The Committee also lacks statutory jurisdiction to request the President’s state tax

returns. The House Rules authorize the Committee to oversee “Federal laws,” not state tax laws.

And nothing in the House Rules allows the Committee to demand the private financial information

of a sitting President.

                                          COUNT II
              Retaliation and Discrimination in Violation of the First Amendment
        73.     Plaintiff incorporates all his prior allegations.

        74.     The First Amendment prohibits laws enacted for the purpose of discriminating or

retaliating against an individual for his politics or speech.

        75.     New York legislators have admitted, on countless occasions, that the TRUST Act’s

purpose is to expose the private tax information of one individual—President Trump—for political

gain. Tellingly, the law is tailored to fit the precise circumstances of the President’s current dispute

with the Ways and Means Committee, and its practical operation will affect only President Trump.

It was passed to help House Democrats expose the President’s private tax information, adopting

and furthering their unlawful purposes.

        76.     The TRUST Act singles out President Trump because he is a Republican and a

political opponent. It was enacted to retaliate against the President because of his policy positions,

his political beliefs, and his protected speech, including the positions he took during the 2016

campaign.

        WHEREFORE, Plaintiff asks this Court to enter judgment in his favor and provide the

following relief:



                                                   23
     Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 24 of 25



a.     A declaratory judgment that the Committee lacks a legitimate legislative
       purpose for obtaining the President’s state tax information;

b.     A permanent injunction prohibiting the Committee from making a written
       request under the TRUST Act, or taking any other action to request, inspect,
       review, use, maintain, or disclose the President’s state tax information;

c.     A declaratory judgment that the TRUST Act violates the First Amendment;

d.     A permanent injunction prohibiting the Attorney General from enforcing
       the TRUST Act;

e.     A permanent injunction prohibiting the Commissioner from complying with
       any written request under the TRUST Act, or from taking any other action
       to disclose the President’s state tax information;

f.     A temporary restraining order and preliminary injunction granting the relief
       specified above during the pendency of this action;

g.     Plaintiff’s reasonable costs and expenses, including attorneys’ fees; and

h.     All other preliminary and permanent relief that Plaintiff is entitled to,
       including equitable relief under the All Writs Act to protect this Court’s
       jurisdiction.




                                        24
           Case 1:19-cv-02173 Document 1 Filed 07/23/19 Page 25 of 25




Dated: July 23, 2019                         Respectfully submitted,

                                             s/ William S. Consovoy

                                            William S. Consovoy (D.C. Bar #493423)
                                            Cameron T. Norris
                                            Steven C. Begakis
                                            CONSOVOY MCCARTHY PLLC
                                            1600 Wilson Blvd., Ste. 700
                                            Arlington, VA 22209
                                            (703) 243-9423
                                            will@consovoymccarthy.com
                                            cam@consovoymccarthy.com
                                            steven@consovoymccarthy.com

                                            Patrick Strawbridge
                                            CONSOVOY MCCARTHY PLLC
                                            Ten Post Office Square
                                            8th Floor South PMB #706
                                            Boston, MA 02109
                                            patrick@consovoymccarthy.com

                                            Counsel for Plaintiff




                                       25
                           Case 1:19-cv-02173 Document 1-1 Filed 07/23/19 Page 1 of 2
                                                               CIVIL COVER SHEET
JS-44 (Rev. 6/17 DC)
 I. (a) PLAINTIFFS                                                               DEFENDANTS
 Donald J. Trump                                                                Committee on Ways and Means, United States House of
                                                                                Representatives; Letitia James, in her official capacity;
                                                                                Michael R. Schmidt, in his official capacity

                                                          11001
 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF _____________________            COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _____________________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)                        ATTORNEYS (IF KNOWN)

 Consovoy McCarthy PLLC
 1600 Wilson Blvd., Ste. 700
 Arlington, VA 22209
 703-243-9423

 II. BASIS OF JURISDICTION                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN x IN ONE BOX ONLY)                                   PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
                                                                                           PTF    DFT                                                        PTF           DFT
 o     1 U.S. Government    o     3 Federal Question
         Plaintiff                 (U.S. Government Not a Party)    Citizen of this State        o1 o1                Incorporated or Principal Place        o4 o4
                                                                                                                      of Business in This State
 o     2 U.S. Government    o     4 Diversity                       Citizen of Another State     o2 o2                Incorporated and Principal Place       o5 o5
         Defendant                  (Indicate Citizenship of
                                                                                                                      of Business in Another State
                                    Parties in item III)            Citizen or Subject of a
                                                                    Foreign Country
                                                                                                 o3 o3                Foreign Nation                         o6 o6
                                             IV. CASE ASSIGNMENT AND NATURE OF SUIT
             (Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)
 o     A. Antitrust        o    B. Personal Injury/                      o     C. Administrative Agency                          o      D. Temporary Restraining
                                   Malpractice                                    Review                                                   Order/Preliminary
       410 Antitrust                                                                                                                       Injunction
                                310 Airplane                                   151 Medicare Act
                                315 Airplane Product Liability                                                                    Any nature of suit from any category
                                320 Assault, Libel & Slander              Social Security
                                                                                                                                  may be selected for this category of
                                                                               861 HIA (1395ff)
                                330 Federal Employers Liability                                                                   case assignment.
                                                                               862 Black Lung (923)
                                340 Marine
                                                                               863 DIWC/DIWW (405(g))                             *(If Antitrust, then A governs)*
                                345 Marine Product Liability
                                                                               864 SSID Title XVI
                                350 Motor Vehicle
                                                                               865 RSI (405(g))
                                355 Motor Vehicle Product Liability
                                                                          Other Statutes
                                360 Other Personal Injury
                                                                               891 Agricultural Acts
                                362 Medical Malpractice
                                                                               893 Environmental Matters
                                365 Product Liability
                                                                               890 Other Statutory Actions (If
                                367 Health Care/Pharmaceutical
                                                                                   Administrative Agency is
                                    Personal Injury Product Liability
                                                                                   Involved)
                                368 Asbestos Product Liability


 o     E. General Civil (Other)                                OR              o     F. Pro Se General Civil
 Real Property                          Bankruptcy                                   Federal Tax Suits                                  462 Naturalization
      210 Land Condemnation                 422 Appeal 27 USC 158                        870 Taxes (US plaintiff or                         Application
      220 Foreclosure                       423 Withdrawal 28 USC 157                         defendant)                                465 Other Immigration
      230 Rent, Lease & Ejectment                                                        871 IRS-Third Party 26 USC                         Actions
      240 Torts to Land                 Prisoner Petitions                                    7609                                      470 Racketeer Influenced
      245 Tort Product Liability             535 Death Penalty
                                                                                                                                            & Corrupt Organization
                                             540 Mandamus & Other                    Forfeiture/Penalty
      290 All Other Real Property                                                                                                       480 Consumer Credit
                                             550 Civil Rights                             625 Drug Related Seizure of
                                                                                              Property 21 USC 881                       490 Cable/Satellite TV
 Personal Property                           555 Prison Conditions
                                                                                          690 Other                                     850 Securities/Commodities/
      370 Other Fraud                        560 Civil Detainee – Conditions
                                                                                                                                            Exchange
      371 Truth in Lending                       of Confinement
                                                                                     Other Statutes                                     896 Arbitration
      380 Other Personal Property
                                                                                         375 False Claims Act                           899 Administrative Procedure
          Damage                        Property Rights
                                            820 Copyrights                               376 Qui Tam (31 USC                                Act/Review or Appeal of
      385 Property Damage
                                            830 Patent                                       3729(a))                                       Agency Decision
          Product Liability
                                            835 Patent – Abbreviated New                 400 State Reapportionment                      950 Constitutionality of State
                                                Drug Application                         430 Banks & Banking                                Statutes
                                            840 Trademark                                450 Commerce/ICC                               890 Other Statutory Actions
                                                                                             Rates/etc.                                     (if not administrative agency
                                                                                         460 Deportation                                    review or Privacy Act)
                             Case 1:19-cv-02173 Document 1-1 Filed 07/23/19 Page 2 of 2
 o     G. Habeas Corpus/                       o      H. Employment                           o     I. FOIA/Privacy Act                    o     J. Student Loan
          2255                                        Discrimination
       530 Habeas Corpus – General                    442 Civil Rights – Employment                 895 Freedom of Information Act               152 Recovery of Defaulted
       510 Motion/Vacate Sentence                         (criteria: race, gender/sex,              890 Other Statutory Actions                      Student Loan
       463 Habeas Corpus – Alien                          national origin,                              (if Privacy Act)                             (excluding veterans)
           Detainee                                       discrimination, disability, age,
                                                          religion, retaliation)

                                               *(If pro se, select this deck)*                 *(If pro se, select this deck)*

 o     K. Labor/ERISA                          o      L. Other Civil Rights                   o     M. Contract                            o     N. Three-Judge
          (non-employment)                               (non-employment)                                                                        Court
                                                                                                    110 Insurance
       710 Fair Labor Standards Act                   441 Voting (if not Voting Rights              120 Marine                                   441 Civil Rights – Voting
       720 Labor/Mgmt. Relations                          Act)                                      130 Miller Act                                   (if Voting Rights Act)
       740 Labor Railway Act                          443 Housing/Accommodations                    140 Negotiable Instrument
       751 Family and Medical                         440 Other Civil Rights                        150 Recovery of Overpayment
           Leave Act                                  445 Americans w/Disabilities –                    & Enforcement of
       790 Other Labor Litigation                         Employment                                    Judgment
       791 Empl. Ret. Inc. Security Act               446 Americans w/Disabilities –                153 Recovery of Overpayment
                                                          Other                                         of Veteran’s Benefits
                                                      448 Education                                 160 Stockholder’s Suits
                                                                                                    190 Other Contracts
                                                                                                    195 Contract Product Liability
                                                                                                    196 Franchise


 V. ORIGIN
 o 1 Original o 2 Removed o 3 Remanded                           o 4 Reinstated o 5 Transferred o 6 Multi-district o 7 Appeal to                         o 8 Multi-district
      Proceeding           from State        from Appellate        or Reopened         from another            Litigation              District Judge        Litigation –
                           Court             Court                                     district (specify)                              from Mag.             Direct File
                                                                                                                                       Judge

 VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
   Injunctive and declaratory relief re: disclosure of state tax returns. 28 U.S.C. §2201; 42 U.S.C. §1983

 VII. REQUESTED IN                           CHECK IF THIS IS A CLASS            DEMAND $                                        Check YES only if demanded in complaint
      COMPLAINT                              ACTION UNDER F.R.C.P. 23
                                                                                     JURY DEMAND:                                YES               NO      ✘
 VIII. RELATED CASE(S)
       IF ANY
                                             (See instruction)
                                                                                 YES     ✘              NO                       If yes, please complete related case form


            July 23, 2019
 DATE: _________________________                                                                 /s/ William S. Consovoy
                                                  SIGNATURE OF ATTORNEY OF RECORD _________________________________________________________


                                              INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
                                                            Authority for Civil Cover Sheet

      The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet.

           I.         COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
                      of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States.

           III.       CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
                      under Section II.

           IV.        CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best
                      represents the primary cause of action found in your complaint. You may select only one category. You must also select one corresponding
                      nature of suit found under the category of the case.

           VI.        CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause.

           VIII.      RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
                      the Clerk’s Office.

           Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.
                         Case 1:19-cv-02173 Document 1-2 Filed 07/23/19 Page 1 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia


                       Donald J. Trump                                   )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                           Civil Action No. 19-cv-2173
                                                                         )
Commitee on Ways and Means, United States House                          )
            of Representatives, et al.                                   )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Commitee on Ways and Means, United States House of Representatives
                                           1102 Longworth House Office Building
                                           Washington, D.C. 20515




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: William S. Consovoy
                                           Consovoy McCarthy PLLC
                                           1600 Wilson Blvd., Ste. 700
                                           Arlington, VA 22209



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-02173 Document 1-2 Filed 07/23/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-2173

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                         Case 1:19-cv-02173 Document 1-3 Filed 07/23/19 Page 1 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia


                       Donald J. Trump                                   )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                           Civil Action No. 19-cv-2173
                                                                         )
Commitee on Ways and Means, United States House                          )
            of Representatives, et al.                                   )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Letitia James
                                           Attorney General of New York State
                                           The Capitol
                                           Albany, NY 12224




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: William S. Consovoy
                                           Consovoy McCarthy PLLC
                                           1600 Wilson Blvd., Ste. 700
                                           Arlington, VA 22209



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-02173 Document 1-3 Filed 07/23/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-2173

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                         Case 1:19-cv-02173 Document 1-4 Filed 07/23/19 Page 1 of 2

AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia


                       Donald J. Trump                                   )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                           Civil Action No. 19-cv-2173
                                                                         )
Commitee on Ways and Means, United States House                          )
            of Representatives, et al.                                   )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael R. Schmidt
                                           Commissioner of the New York State Department of Taxation and Finance
                                           W.A. Harriman Campus
                                           Albany, NY 12227




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: William S. Consovoy
                                           Consovoy McCarthy PLLC
                                           1600 Wilson Blvd., Ste. 700
                                           Arlington, VA 22209



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                           Case 1:19-cv-02173 Document 1-4 Filed 07/23/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 19-cv-2173

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
